













NUMBERS 13-07-415-CR, 13-07-416-CR, and 13-07-417-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


__________________________________________________________________


THE STATE OF TEXAS,		Appellant,


v.



GLORIA REYES GARCIA,	Appellee.

__________________________________________________________________


On appeal from the 197th District Court


of Willacy County, Texas.


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MEMORANDUM OPINION


		

Before Chief Justice Valdez and Justices Rodriguez and Garza


Memorandum Opinion Per Curiam



	Appellant, THE STATE OF TEXAS, attempted to perfect  appeals from orders
entered by the 197th District Court of Willacy County, Texas, in cause numbers 
2006-CR-0077-A, 2006-CR-0079-A, and 2006-CR-0080-A.  The clerk's records were
received on July 26, 2007.  

	Upon review of the clerk's records, it appeared that the orders from which these
appeals were taken were not  final appealable orders.  Notice of this defect was given
so that steps could be taken to correct the defect, if it could be done.  Appellant was
advised that, if the defect was not corrected within ten days from the date of receipt
of this notice, the appeals would be dismissed for want of jurisdiction.  Appellant failed
to file a response as requested by this Court's notice. 

	The Court, having considered the documents on file and appellant's failure to
respond to this Court's notice, is of the opinion that the appeals should be dismissed
for want of jurisdiction. The appeals are hereby DISMISSED FOR WANT OF
JURISDICTION.

							PER CURIAM

Do not publish.  Tex. R. App. P. 47.2(b).


Memorandum Opinion delivered and filed this

the 31st day of August, 2007.



